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 4                                    UNITED STATES BANKRUPTCY COURT
                                             DISTRICT OF OREGON
 5
      IN RE:                                                       CASE NO: 22-30011-dwh12
 6
       Mark E. Delong                                              DECLARATION OF MAILING
 7                                                                 CERTIFICATE OF SERVICE
                                                                   Chapter: 12
 8                                                                 ECF Docket Reference No. 126


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11   On 12/15/2022, I did cause a copy of the following documents, described below,
     First Amended Order Confirming Chapter 12 Plan and Resolving Objections ECF Docket Reference No. 126
12

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15   nhenderson@portlaw.com

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     to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
19   sufficient postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and
     incorporated as if fully set forth herein.
20   I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.
     com, an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to
21   Fed.R.Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if
     fully set forth herein.
22
     Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been
     served electronically with the documents described herein per the ECF/PACER system.
23
     DATED: 12/15/2022
24                                                    /s/ NICHOLAS J HENDERSON
                                                      NICHOLAS J HENDERSON 074027
25                                                    Attorney for Debtor
                                                      MOTSCHENBACHER & BLATTNER LLP
26                                                    117 SW Taylor Street, Ste 300
                                                      Portland, OR 97204
27                                                    503 417 0500
                                                      nhenderson@portlaw.com
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                                  Case 22-30011-dwh12            Doc 129      Filed 12/19/22
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                                       UNITED STATES BANKRUPTCY COURT
 4                                            DISTRICT OF OREGON
 5
        IN RE:                                                           CASE NO: 22-30011-dwh12
 6
        Mark E. Delong                                                   CERTIFICATE OF SERVICE
                                                                         DECLARATION OF MAILING
 7
                                                                         Chapter: 12
 8                                                                       ECF Docket Reference No. 126


 9

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11   On 12/15/2022, a copy of the following documents, described below,

     First Amended Order Confirming Chapter 12 Plan and Resolving Objections ECF Docket Reference No. 126
12

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     nhenderson@portlaw.com
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19   were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient
     postage thereon to the parties listed on the mailing list exhibit, a copy of which is attached hereto and incorporated as if fully set forth
20   herein.

     The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above
21   referenced document(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of
     Service and that it is true and correct to the best of my knowledge, information, and belief.
22
     DATED: 12/15/2022
23

24

25
                                                                  Jay S. Jump
26                                                                BK Attorney Services, LLC
                                                                  d/b/a certificateofservice.com, for
27                                                                NICHOLAS J HENDERSON
                                                                  MOTSCHENBACHER & BLATTNER LLP
28                                                                117 SW Taylor Street, Ste 300
                                                                  Portland, OR 97204


                                       Case 22-30011-dwh12                Doc 129         Filed 12/19/22
PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL (D)=DUPLICATE ADDRESS
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM


AB LIVESTOCK, LLC                        ARNOLD GALLAGHER, PC                     BAIR & SONS
1555 SHORELINE DRIVE                     C/O BRADLEY S. COPELAND                  2048 6TH AVE W
SUITE 320                                800 WILLAMETTE STREET, SUITE 800         VALE, OR 97918-5022
BOISE, ID 83702-9109                     EUGENE, OR 97401-2996




CAPITAL ONE                              JPMORGAN CHASE BANK N A                  DARIN AND CATHY HILL
PO BOX 60599                             BANKRUPTCY MAIL INTAKE TEAM              4481 SOUTH ROAD 'E'
CITY OF INDUSTRY, CA 91716-0599          700 KANSAS LANE FLOOR 01                 VALE, OR 97918-5084
                                         MONROE LA 71203-4774




DISCOVER                                 FARMERS SUPPLY CO-OP                     IRS
PO BOX 51908                             514 SW 4TH AVE.                          CENTRALIZED INSOLVENCY OPERATION
LOS ANGELES, CA 90051-6208               ONTARIO, OR 97914-2690                   PO BOX 7346
                                                                                  PHILADELPHIA, PA 19101-7346




IDAHO POWER                              IDAHO POWER                              MALHEUR COUNTY PROPERTY TAX
PO BOX 70                                PROCESSING DEPT.                         251 B ST SUITE 14
BOISE ID 83707-0070                      PO BOX 5381                              VALE, OR 97918-1375
                                         CAROL STREAM, IL 60197-5381




MALHEUR COUNTY TAX COLLECTOR             ODR BKCY                                 PSB CREDIT SERVICES, INC.
251 B STREET WEST ROOM #10               955 CENTER NE, #353                      508 THIRD STREET
VALE, OR 97918-1375                      SALEM, OR 97301-2555                     PRINSBURG, MN 56281-3700




PATTIE BAKER                             PRINZ BANK - PSB CREDIT SERVICES         PRODUCERS LIVESTOCK MARKETING ASSOC
2090 7TH AVE                             PO BOX 38                                PO BOX 540477
VALE, OR 97918-5028                      PRINSBURG, MN 56281-0038                 NORTH SALT LAKE, UT 84054-0477




PRODUCERS LIVESTOCK MARKETING            SIMPLOT LIVESTOCK COMPANY                SMALL BUSINESS ADMINISTRATION
ASSOCIATION                              1301 HWY 67                              2401 4TH AVE. #450
C/O SHEILA R. SCHWAGER                   GRAND VIEW, ID 83624-5062                SEATTLE, WA 98121-3459
HAWLEY TROXELL ENNIS & HAWLEY LLP
PO BOX 1617
BOISE, ID 83701-1617




U.S. SMALL BUSINESS ADMINISTRATION       US TRUSTEE, PORTLAND                     MARK E. DELONG
2401 4TH AVE, SUITE 450                  1220 SW 3RD AVE., RM. 315                2090 7TH AVE. W.
SEATTLE, WA 98121-3459                   PORTLAND, OR 97204-2829                  VALE, OR 97918-5028




VIRGINIA   ANDREWS BURDETTE
VIRGINIA   ANDREWS BURDETTE, TRUSTEE
P.O. BOX   16600
SEATTLE,   WA 98116-0600




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